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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS
____________________________________
                                          )
AMANDA REID,                              )
   Individually and on behalf of a class  )         C.A. No. 18-cv-12470-WGY
   of persons similarly situated,         )
                                          )
         Plaintiff,                       )
                                          )
v.                                        )
                                          )
SANTANDER CONSUMER USA INC., )
                                          )
         Defendant.                       )
___________________________________ )

                               STIPULATION OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), the parties hereby stipulate to the dismissal of

 all claims in this action with prejudice and without costs or attorney's fees as to any party. The

 parties waive all rights to appeal.
                                       Respectfully submitted,

AMANDA REID,                                      SANTANDER CONSUMER USA INC.,
By her attorneys,                                 By its attorneys

/s/ Raven Moeslinger                              /s/ Michael T. Grant
Raven Moeslinger (BBO # 687956)                   Michael T. Grant, BBO #677893
Nicholas F. Ortiz (BBO # 655135)                  Charles A. Ognibene, BBO #377840
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Dated: January 10, 2019




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                                CERTIFICATE OF SERVICE

        I, Raven Moeslinger, hereby certify that today I caused to be served the within on counsel
for the defendant via ECF service.

                                                    /s/ Raven Moeslinger
                                                    Raven Moeslinger




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